           Case 2:18-cr-00016-TSZ          Document 34        Filed 02/26/18     Page 1 of 2




 1

 2

 3

 4

 5                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 6                                    AT SEATTLE
 7
     UNITED STATES OF AMERICA,                            NO. CR18-16-TSZ
 8
                                   Plaintiff,
 9
            v.
10
                                                          DETENTION ORDER
11   PATRICK TABLES a/k/a “Break Bread,”

12                                 Defendant.

13
     Offenses charged:
14

15          Count 1:          Conspiracy to Distribute Controlled Substances

16          Count 3:          Possession of Crack Cocaine and Methamphetamine with Intent to
                              Distribute
17
            Count 6:          Possession of Crack Cocaine with Intent to Distribute
18
            Count 7:          Possession of Crack Cocaine with Intent to Distribute
19
            Count 11:         Possession of Crack Cocaine and Heroin with Intent to Distribute
20

21          Count 12:         Possession of Crack Cocaine and Heroin with Intent to Distribute

22   Date of Detention Hearing: February 26, 2018

23          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

24   based upon the factual findings and statement of reasons for detention hereafter set forth, finds:

25          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

26          1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that


     DETENTION ORDER
     18 U.S.C. § 3142(i)
     Page 1
         Case 2:18-cr-00016-TSZ         Document 34       Filed 02/26/18      Page 2 of 2




 1
                 defendant is a flight risk and a danger to the community based on the nature of
 2
                 the pending charges. Application of the presumption is appropriate in this case.
 3
           2.    Defendant stipulates to detention due to a previous detention order entered in
 4
                 CR18-35-JLR.
 5
           3.    There are no conditions or combination of conditions other than detention that
 6
                 will reasonably assure the appearance of defendant as required or ensure the
 7
                 safety of the community.
 8
           IT IS THEREFORE ORDERED:
 9
           1.    Defendant shall be detained and shall be committed to the custody of the
10
                 Attorney General for confinement in a correction facility separate, to the extent
11
                 practicable, from persons awaiting or serving sentences or being held in custody
12
                 pending appeal;
13
           2.    Defendant shall be afforded reasonable opportunity for private consultation with
14
                 counsel;
15
           3.    On order of a court of the United States or on request of an attorney for the
16
                 government, the person in charge of the corrections facility in which defendant
17
                 is confined shall deliver the defendant to a United States Marshal for the
18
                 purpose of an appearance in connection with a court proceeding; and
19
           4.    The Clerk shall direct copies of this Order to counsel for the United States, to
20
                 counsel for the defendant, to the United States Marshal, and to the United States
21
                 Pretrial Services Officer.
22
           DATED this 26th day of February, 2018.
23

24                                             AJAMES P. DONOHUE
25                                              Chief United States Magistrate Judge
26


     DETENTION ORDER
     18 U.S.C. § 3142(i)
     Page 2
